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                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF ARIZONA

United States of America
                                                      JUDGMENT IN A CRIMINAL CASE
    v.                                                (For Offenses Committed on or After November 1, 1987)


Heriberto Salazar-Torres                              No. CR 10-02487-001-TUC-DCB(HCE)

                                                      Wanda K. Day (Appointed)
                                                      Attorney for Defendant

USM#: 17105-308              ICE#: Aa87451931

THE DEFENDANT ENTERED A PLEA OF guilty on 10/20/2010 to the Indictment.

ACCORDINGLY, THE COURT HAS ADJUDICATED THAT THE DEFENDANT IS GUILTY OF
THE FOLLOWING OFFENSE(S): violating Title 8, U.S.C. §1326(a), Re-Entry after Deportation,
with sentencing enhancement pursuant to Title 8, U.S.C. §1326(b)(2), a Class C Felony offense,
as charged in the Indictment.

IT IS THE JUDGMENT OF THIS COURT THAT the defendant is hereby committed to the
custody of the Bureau of Prisons for a term of TWENTY FOUR (24) MONTHS on the Indictment,
with credit for time served. Upon release from imprisonment, the defendant shall be placed on
supervised release for a term of THREE (3) YEARS on the Indictment.

                                    CRIMINAL MONETARY PENALTIES
The defendant shall pay to the Clerk the following total criminal monetary penalties:
    SPECIAL ASSESSMENT: $100.00                               FINE: $0                        RESTITUTION: $0
The Court finds the defendant does not have the ability to pay a fine and orders the fine waived.
If incarcerated, payment of criminal monetary penalties are due during imprisonment at a rate of not less than $25 per
quarter and payment shall be made through the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal
monetary payments shall be made to the Clerk of U.S. District Court, Attention: Finance, Suite 130, 401 West Washington
Street, SPC 1, Phoenix, Arizona 85003-2118. Payments should be credited to the various monetary penalties imposed
by the Court in the priority established under 18 U.S.C. § 3612(c). The total special assessment of $100.00 shall be paid
pursuant to Title 18, United States Code, Section 3013 for the Indictment.

Any unpaid balance shall become a condition of supervision and shall be paid within 90 days prior to the expiration of
supervision. Until all restitutions, fines, special assessments and costs are fully paid, the defendant shall immediately
notify the Clerk, U.S. District Court, of any change in name and address. The Court hereby waives the imposition of
interest and penalties on any unpaid balances.


                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant is placed on supervised release for a term of
THREE (3) YEARS on the Indictment.
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The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.
It is the order of the Court that, pursuant to General Order 05-36, which incorporates the
requirements of USSG §§5B1.3 and 5D1.2, you shall comply with the following conditions:
1)    You shall not commit another federal, state, or local crime during the term of supervision.
2)    You shall not leave the judicial district or other specified geographic area without the
      permission of the Court or probation officer.
3)    You shall report to the Probation Office as directed by the Court or probation officer, and
      shall submit a truthful and complete written report within the first five days of each month.
4)    You shall answer truthfully all inquiries by the probation officer and follow the instructions
      of the probation officer.
5)    You shall support your dependents and meet other family responsibilities.
6)    You shall work regularly at a lawful occupation unless excused by the probation officer for
      schooling, training, or other acceptable reasons.
7)    You shall notify the probation officer at least ten days prior to any change of residence or
      employment.
8)    You shall refrain from excessive use of alcohol and are subject to being prohibited from the
      use of alcohol if ordered by the Court in a special condition of supervision.
9)    You shall not purchase, possess, use, distribute or administer any narcotic or other
      controlled substance as defined in section 102 of the Controlled Substances Act (21 U.S.C.
      § 801) or any paraphernalia related to such substances, without a prescription by a licensed
      medical practitioner. Possession of controlled substances will result in mandatory
      revocation of your term of supervision.
10)   You shall not frequent places where controlled substances are illegally sold, used,
      distributed or administered, or other places specified by the Court.
11)   You shall not associate with any persons engaged in criminal activity, and shall not
      associate with any person convicted of a felony unless granted permission to do so by the
      probation officer.
12)   You shall permit a probation officer to visit at any time at home or elsewhere and shall
      permit confiscation of any contraband observed in plain view by the probation officer.
13)   You shall immediately notify the probation officer (within forty-eight (48) hours if during a
      weekend or on a holiday) of being arrested or questioned by a law enforcement officer.
14)   You shall not enter into any agreement to act as an informer or a special agent of a law
      enforcement agency without the permission of the Court.
15)   As directed by the probation officer, you shall notify third parties of risks that may be
      occasioned by your criminal record or personal history or characteristics, and shall permit
      the probation officer to make such notification and to confirm your compliance with such
      notification requirement.
16)   If you have ever been convicted of a felony, you shall refrain from possessing a firearm,
      ammunition, destructive device, or other dangerous weapon. If you have ever been
      convicted of a misdemeanor involving domestic violence, you shall refrain from possession
      of any firearm or ammunition. Possession of a firearm will result in mandatory revocation
      of your term of supervision. This prohibition does not apply to misdemeanor cases that did
      not entail domestic violence, unless a special condition is imposed by the Court.
17)   Unless suspended by the Court, you shall submit to one substance abuse test within the first
      15 days of supervision and thereafter at least two, but no more than two periodic substance
      abuse tests per year of supervision, pursuant to 18 U.S.C. §§ 3563(a)(5) and 3583(d);
18)   If supervision follows a term of imprisonment, you shall report in person to the Probation
      Office in the district to which you are released within seventy-two (72) hours of release.
19)   You shall pay any monetary penalties as ordered by the Court. You will notify the probation
      officer of any material change in your economic circumstances that might affect your ability
      to pay restitution, fines, or special assessments.
20)   If you have ever been convicted of any qualifying federal or military offense (including any
      federal felony) listed under 42 U.S.C. § 14135a(d)(1) or 10 U.S.C. § 1565(d), you shall
      cooperate in the collection of DNA as directed by the probation officer pursuant to 42 U.S.C.
      § 14135a(a)(2).
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The following special conditions are in addition to the conditions of supervised release or
supersede any related standard condition:
1.    If deported, you shall not re-enter the United States without legal authorization.

The Court may change the conditions of probation or supervised release or extend the term of
supervision, if less than the authorized maximum, at any time during the period of probation or
supervised release. The Court may issue a warrant and revoke the original or any subsequent
sentence for a violation occurring during the period of probation or supervised release.


THE COURT FINDS that the defendant has been sentenced in accordance with the terms of the
plea agreement and that he has waived his right to appeal and to collaterally attack this matter.
The waiver has been knowingly and voluntarily made with a factual basis and with an
understanding of the consequences of the waiver.


IT IS FURTHER ORDERED that the Clerk of the Court deliver two certified copies of this
judgment to the United States Marshal of this district.

The Court orders commitment to the custody of the Bureau of Prisons and recommends that the
defendant be placed in an institution near Cibola, New Mexico, near his family.


Date of Imposition of Sentence: Tuesday, May 10, 2011


DATED this 13th day of May, 2011.




                                                       RETURN

I have executed this Judgment as follows:

Defendant delivered on                  to                                 at                                 , the
institution designated by the Bureau of Prisons, with a certified copy of this judgment in a Criminal case.

                                                            By:
United States Marshal                                             Deputy Marshal
